Xerox WorkCentre 5335

Transmission Report

 

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Lorain Cou.nty .l'a.il ______.____-'-""
A'I'I'N: R.ECORDS

 

Scni via fear to 440.329.3766

RE: Stevnn Conlcy -
DDB: 03.¢'30!1999
DOI: 1322/2017 10 02/2€|1‘2013

Plcasc consider this ictter an ofEcia] Ohio Public Records Act request, pursuant to Ohio R.evised
Cedc Sec. 149, et seq. Attached please also find a copy ofan Authorimtion tn Discln_se you to
also provide his medical rccords.

' Pnrsue.nt tn the Ohin Pn`hlie Rednrds Diselnsure Act, Ihereby request your ofEce to provide each
and every document relating to Sceven Conley and his stay :'.u the Lornin Cmmty Jnil from
12[22/1017 to 02|`2|]/2018, within seven (7) business days nf' receipt of this letter.

ln addition, we are deeply concerned that information regarding the ease will be lost,
altered ur destroyed before it reaches the undersigned counsel. an.l have a duty under
Oh.io law to preserve those rccords. -

Th.is is n follow-up to our two previous requests attached hurnto. First, the responses to the
»f.irst request Were not complete and this request was sent over sixty days ngo. I’Iease
provide immediately ' _
We requested:
- l. - - -- A]l-phntngraphs,-video, and audio efStevm Cnn!cy during-his-

incarocmt'ion iom 1222/2017 to 02."20!2018. including but nut limited to booking and
intake

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Lorain County Jail
ATTN: RECORDS

 

 

Scnt via faX to 440.329.3766

RE: Stcven Conley'
DOB: 03/3 0/1999
DOI: 12/22/2017 to 02/20/2018

Please consider this letter an official Ohio Public Records Act request, pursuant to Ohio Rcviscd
Codc Sec. 149, et scq. Attachcd please also find a copy of an Authorization to Disclose you to
also provide his medical rccords.

Pursuant to the Ohio Pub]ic Recor'ds Disclo sure Act, I hereby request your office to provide each
and every document relating to Stcven Conley and his stay in the Lorain County Jail nom
12/22/2017 to 02/20/2018, within seven (7) business days of receipt of this letter.

In addition, we are deeply concerned that information regarding the case will be lost,
altered or destroyed before it reaches the undersigned counsel. You have a duty under
Ohio law to preserve these rccords. ~

This is a follow-up to our two previous requests attached hereto. First, the responses to the
first request were not complete and this request was sent over sixty days ago. Please
provide immediately

We requested:

l. All photographs, video, and audio of Stcvcn Conlcy during his
incarceration from 12/22/2017 to 02/20/2018,_including but not limited to booking and '
intake.

Malik Law

cwa chHrs FoR <:l\m,\.vaor\icsU 8437 Mayfieid Road Suite 101 space 4/;0.719.3260
MalikLaw.com Chesterlaa d, Ohio q.qozé FAx 440.490.1177

 

We received a video from January 30, 2018 of officers escorting Mr. Conley from one area of
the jail into a doorway. 'l`his video is supposed to go B‘om 8:06:36 to 8:03:59. However the
following portions of the video are missing:

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i. 8:06:53 to 8:07:16
ii. 8:07:33 to 8207:43
iii. 8:08:09 to 8:08:16

iv. 8:08:26 to 8:08:58

. We received no video of the area from which-l\/_[r. Conley Was

taken prior to the escort shown on the incomplete video
labeled by you as 18-462 Conley SNP. Please provide this
video iirunediately.

We received no video of a spit mask being put on Mr. Conley.
Please provide this video immediately

. We received no video of Mr. Conley being put iu-the restraint 7

chair. Please provide this video iirnnediately.

We received no video of Mr. Conley for the time he remained
in the restraint chair. Please provide this video immediately

We received no video of Mr. Coney being removed from the
restraint chair.

8437 Mayt§eid Road Suite 101 ` omcs 440.729.8260
Ciiesterland, Ohio 1;4026 tax 440.490.1177

 

g. These requests are specific in nature to identify what we
believe we are still missing. These requests in no way limit
your responsibility to abide by our original request to produce
ALL photo graphs, video, and audio of Steven Conley during
his incarceration from 12/22/2017 to 02/20/2018.

Please confirm in writing that we have full, accurate, and complete responses to the following If
we are not in receipt of full, accurate, and complete responses to the following, please provide
immediately

2. Each and every investigatory record and/or photo graphs/
documents/video/ audio relating to Steven Conley and his incarceration from 12/22/_2017
to 02/20/2018.

3. The complete medical file for Steven Conley for his incarceration in the
Lorain County Jail from August 2011 to August 2016, including but not limited to Steven
__ _ ..___Conley_and-his_incarceration_n’.om_1_2/_22/20.1_7_’£0_02[20/_20.1_8. ' ._.....__

 

4. The complete mental health file for Steven Conley for his incarceration in
the Lorain County Jail from 12/22/2017 to 02/20/2018, specifically all mental health
records related to Steven Conley and his incarceration nom 12/22/2017 to 02/20/2018.

5_. Each and every statement obtained by investigators relating to Steven .
Conley and his incarceration in the Lorain County lail from 12/22/2017 to 02/20/2018.

6. `Each and every incident report relating to Steven Conley and his
incarceration in Lorain County lail from 12/22/2017 to 02/2_0/2018.

We have yet to receive the following Please provide immediately

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C¥V|L REGH'I'S ¥~'OR C|V!L \i'v.tRONG£~;‘t 8437 Mayfie£d Road Suite 101 '_ oFF:cE 440.729.8260
MalikLaw.com Ciiesterland, Ohio 44026 FAX aac.ago.n;q

 

7. Produce an index of all jail policies and procedures
8. Produce the written policy, procedure, protocol, for the fo llowing:
A) Using force on inmates

B) Using a restraint chair.
C) Handcuffmg inmates.

8. Each and every-kite and request for medical attention sent by Steven Conley
nom 12/22/2017 to 02/20/2018.

9. Produce all emails related to Steven Conley and his incarceration in the
Lorain County Jail from 12/22/2017 to 02/20/2018.
10. Any and all discipline records of any corrections staff that was disciplined
for incidents related to Steven Conley from 12/22/2017 to present
Lastly, we have not received any responsive documents to our second request dated May
11, 2018. Please provide immediately.
Thank you for your assistance with this request. If you have any questions, please call me at the

number below.

Sincerely,

Sara Gedeon, Esq.

Malik Law

C!ViL RIGHTS FOR C!V|i_\l‘».iR_GNGSet 8437 Mayfield Road Suite 101 oi=:=lcc 440.729.8260
Maliklaw.ccm Chestei'iand, Ohio 44026 FAX 440.:;90.1177

 

March 9, 2018

Lorain County Jail
ATTN: RECORDS

Sent via fax to 440.329.3766

RE: Steven Conley
DOB: 03/30/1999
DOl: 12/22/2017 to 02/20/2018

Please.consider this letter an official Ohio Public Records Act request, pursuant to Ohio Revised
Code Sec. 149, et scq. Attached please also find a copy of an Authorization to Disclo_se l-Iealth
Information signed by the Steven Conley authorizing you to also provide his medical records

Pursuant to the Ohio Public Records Disclosure Act, I hereby request your office to provide each
and every document relating to Steven Conley and his stay in the Lorain County Jail from
12/22/2017 to 02/20/2018, within seven (T) business days of receipt of this letter.

In addition, we are deeply concerned that information regarding the case will be lost,
altered or destroyed before it reaches the undersigned counsel. You have a duty under
Ohio law to preserve these records.

1. The entire jail file for Steven Conley for his incarcerations beginning
12/22/2017 to 02/20/2018. `

.2. All photographs, video, and audio of Steven Conley during his
incarceration iiom 12/22/2017 to 02/20/2018, including but not limited to booking and
intake

3. Each and every investigatory record and/or photo graphs/
documents/video/audio relating to Steven Conley and his incarceration nom 12/22/2017
to 02/20/2018.

Malik Law

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7 Malit<§_aw,com Chesterland, Ohic 44026 FAx 440.490.1177

 

4. The complete medical file for Steven Conley for his incarceration m the
7 Lorain County J all nom August 2011 to August 2016, including but not limited to Steven `
Conley and his incarceration nom 12/22/2017 to 02/20/2018.

5. The complete mental health file for Steven Conley for his incarceration in
the Lorain County Jail from 12/22/2017 to 02/20/2018, specifically all mental health
records related to Steven Conley and his incarceration from 12/22/2017 to 02/20/2018.

6. ' Each and‘every.statement obtained by investigators relating to Steven .
Conley and his incarceration in the Lorain County Jail from 12/22/2017 to 02/20/2018.

7. Each and every incident report relating to Steven Conley and his
incarceration in Lorain County Jail nom 12/22/2017 to 02/20/2018.

8. Produce an index of all jail policies and procedures
9. Produce the written policy, pro cedure, proto col, for the following:

A) Using force on inmates
B) Using a restraint chair.
C) Handcuff`rng inmates

8 Each and every kite and request for medical attention sent by Steven Conley
from 12/22/2017 to 02/20/2018

9. ` Produce all emails related to Steven Conley and his incarceration in the
Lorain County Jail from 12f22/2017 to 02/20/2018.
10. Any and all discipline records of any corrections staff that was disciplined
' for incidents related to 'Steven Conley from 12/22/2017 to present.

Malik Law

CE\JE!_ R|GHTS FOR CtVlLWRONGS“* 81'437 Mayfleld Road Suite 101 oFFlcE 440.729.8260
Malik¥_aw.com 1 Chesterland, Ohio iri/1026 FA)< 440.¢,90.11;'7

 

Thank you for your assistance with this request lf you have any questions, please call me at the
number below.

Sincerely,

Sara Gedeon, Esq.

Malik i.a.w

CIV|L R|GHTS i-`OR CIV|LWRONGS“' 8.q37 Mayl'ield Road Suite 101 OFF!CE 440.729.8260
Malild.aw.com Chesterland, Ohio 44026 4 nix 440.49§.117;'

 

May11,2018

Lorain County Jail
ATTN: RECORDS

Sent via fax to 440.329.3766

RE: Steven Conley

DOB: 03/3 0/1999
,DOI: 12/22/2017 to 02/20/2018

Please consider this letter an official Ohio Public Records Act request, pursuant to Ohio Revised
Code Sec.149 et seq. Pursuant to the Ohio Public Records Disclosure Act, l hereby request your
office to provide the complete personnel and disciplinary for the following officers l have
attached produced documents for your reference

1. Officers’ signatures listed on Report Number 18462 - #237 and #239 and
the Corporals signature at the bottom of these two reports

2. Officer Ruben Ortiz #249.

 

4. Ofiice ln Charge listed on O_RI Number OH0470000.
5. -Assisting Officers listed on ORI Nurnber OH0470000.

ln addition, We did not receive the followingfrom our request dated March 9,

2018:
6. Produce an index of all jail policies and procedures
7. Produce the written policy, pro cedure, protocol, for the following:
A) Using force on inmates
Malik Law
C|VIL R|G-HTS FOR CEV|L\!*\¢'ROI\IGS‘*J 8437 Mayfield Rcad Suite 101 oFF;cE 4110.72.9.8260

Malik;aw,gom Chesterland, 0th qqozé FA>< qqo.ago.ii??

3:_"` "'__O`l:fi'C_C-I"'S`iHDiEY_#ZZI-`S._`_f _ _ :"" ""'____ "

 

B) Using a restraint chair.
7 C) Handcuffing inmates

8. Each and every kite.and request for medical attention sent by Steven Conley
from 12/22/2017 to 02/20/2018.

9. Produce all emails related to Steven Conley and his incarceration in the
Lorain County .lail from 12/22/2017 to 02/20/2018.

10. Any'and all discipline records of any corrections staff that was disciplined 7
for incidents related to Steven Conley B‘om 12/22/2017 to present.

`Thank you for your assistance with this request. If` you have any questions please call me at the
number below.

Sincerely,

ara Gedeon, Esq.

Malik Law

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4. The following individual ZHorgmizattpn ` raw closure:` 1

(Addre¢{)

5. The type and amount of information to lie used or disclosed is ns follows: '
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G. I understand and acknowledge that the information in my health record tony chlude information regardingpbyticnt and'
mentat`itlness, ElIV test results or di'ngnosis, treatment of_AIDS/ADJS-rctntcd conditions nnd!or alcohoUdrug abuse. Th.ts
authorization does no_t Include permissipn to release outpatient Psychotherapy Notes as clothed betow.* _Iteteare of

' Psyehotnornpy Notr:s requires a separate nuthoriz:¢tioo..
7. Th.ls luformation may be disclosed to and used by the following lndlvid nat or organization:

Dn'dd B..Mnlik, Esq.
3437 Mayficld Road, Suite 101
Chosterlnnd, OH 44026 -

zie.?so_?Ass; 440.490.1177(£»¢¢); Qnoa@ oovtgmltnmv.eom; sam @a=wm mgttklnw.eom . - `

S. '_Ihls anthorizatlon and consent will expire one year from die date of authorization written below_. unlessrovoked by me for
my'legol representative through written notice to the health information management departmeot. 1 understand the
revocation will not apply to information that has already been released 111 response to this outborlzoclon. I understood mo
revocation does not apply to my Insttrnnce company when therlaw provider my insurer wlth the right to contest a `cla'un under
my policy. .

9. I understand that nuthorlidng the disclosure of this health information isvolun tary. form refuse to sign this authorization `l
need not sign this form in order lo assure treatment. I understandlmny airport or copy-the information to be used or .
d.tselo.'z'ed, as provided in CFR 1545£4. I understand amy disclosure of information carries with it the potential for nn
unauthorized rcc-disclosure and the information may not h_e protected by federal confidentiality rules After_my health
information is releascd, my information may be rda-disclosed by the recipient and may no longer be protected by .law. The
recipient of my health information may be el`mrged for the service or releasing medical ddormaqon. There is no charge to

send records directly to my health care provision / / g
1 Steven con rev _ ¢/'\Q?UXOZO 25

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